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            ▪ CRIMINAL DEFENSE ▪ CONSUMER BANKRUPTCY ▪ REAL ESTATE ▪ FORECLOSURE DEFENSE ▪
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                                            July 8, 2019

VIA ECF & US MAIL

The Honorable Cecelia G. Morris
Chief Justice
U.S. Bankruptcy Court SDNY
355 Main Street Poughkeepsie, NY 12601-3315

RE: Loss Mitigation Status Report
   Carl Garris and Sheryl L Metz-Garris
   Case Number 18-36599-cgm

Dear Judge Morris,

Please allow this letter to serve as a status report in the pending Loss Mitigation pursuant to the
Southern District of New York Bankruptcy’s Loss Mitigation Program. My office represents the
debtors, Carl Garris and Sheryl L Metz-Garris, in the above-referenced case.

The debtors have commenced Nationstar’s online short sale process in Equator and the real
estate agent is working to complete the property data task required to move the file forward.
In agreement with Nationstar’s counsel, we respectfully request that loss mitigation be continued
while the debtor’s actively pursue a short sale of the property.


Thank you.
Very truly yours,

/s/ Scott B. Ugell
Scott B. Ugell, Esq.

CC:     M. Licker/McCalla, Raymer, Leibert, Pierce LLC
        Mr. C. Garris & Ms. S. Metz-Garris




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